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Fill in this information to identify the case:

Debtor1 JOHN M. SKIPPINGS

Debtor 2
(Spouse, if filing)

 

United States Bankruptcy Court for the: Southern District of Florida
Case number 18-21683-AJC

 

 

Official Form 41081
Notice of Mortgage Payment Change 12115

lf the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor's principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.

 

 

Name of creditor: Riverwood Condominium Association, Inc. Court claim no. (if known): 4
Last 4 digits of any number you use to Date of payment change:
identify the debtor’s account: 3 0 2 Must be at least 21 days after date 08/01/2020

of this notice

New total payment: $ 544.16
Principal, interest, and escrow, if any

oo Escrow Account Payment Adjustment

1. Will there be a change in the debtor’s escrow account payment?

W No

CJ Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
the basis for the change. If a statement is not attached, explain why:

 

 

Current escrow payment: $ New escrow payment: §$

EERE wortsase Payment Adjustment

2. Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
variable-rate account?

W No

C] Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
attached, explain why:

 

 

Current interest rate: % New interest rate: %

Current principal and interest payment: $ New principal and interest payment: $

eee other Payment Change

3. Will there be a change in the debtor’s mortgage payment for a reason not listed above?
C] No

wi Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
(Court approval may be required before the payment change can take effect.)

Reason for change: Increase in condo budget for 2020

Current mortgage payment: $ 915.47 New mortgage payment: $ 544.16

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Debtor 1 JOHN M. SKIPPINGS Case number (if known) 18-21 683-AJC

 

First Name Middle Name Last Name

Ez a" —

The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
telephone number.

Check the appropriate box.
C) | am the creditor.

wi | am the creditor's authorized agent.

| declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
knowledge, information, and reasonable belief.

 

 

XCharles F. Otto, Esq. Date 06/30/2020
Signature
Print: Charles F. Otto Title Attorney for Creditor
First Name Middle Name Last Name

Company Straley | Otto

Address 2699 Stirling Road, Suite C-207

 

 

Number Street
Fort Lauderdale FL 33312
City State ZIP Code
Contact phone 954-962-7367 Emai Clo@straleyotto.com

Official Form 410S1 Notice of Mortgage Payment Change page 2

 
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF FLORIDA
(Miami Division)

In re: Chapter 13
JOHN M. SKIPPINGS, Case No. 18-21683-BKC-AJC

Debtor.
/

CERTIFICATE OF SERVICE
| certify that a true copy of the Notice of Mortgage Payment Change appended hereto
was served upon those parties set forth on the attached service list on June 30, 2020, as
follows:
The following persons/entities were noticed via NEF:

Carolina A. Lombardi, Esq.
Nancy K. Neidich, Trustee

The following persons/entities were noticed via U.S. mail:

John M. Skippings, 19208 N.E. 25% Avenue, #302, Miami, FL 33180

Is/
CHARLES F. OTTO, ESQ.
Fla. Bar No. 55591
E-mail: cfo@straleyotto.com
STRALEY | OTTO
2699 Stirling Road, Suite C-207
Fort Lauderdale, Florida 33312
Telephone: 954/962-7367
Facsimile: 954/962-7423
Attorneys for Creditor

 
